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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Dry Enterprises, Inc., et al.,                )
                                              )
                        Plaintiffs,           )
                                              )
         vs.                                  )         No. 07 C 1657
                                              )
Sunjut AS, et al.,                            )         Judge Kendall
                                              )
                        Defendants.           )         Magistrate Judge Cole
                                              )
                                              )
Sunjut AS, et al.,                            )
                                              )
                 Counter-Plaintiffs,          )
                                              )
         vs.                                  )
                                              )
Dry Enterprises, Inc., et al.,                )
                                              )
                 Counter-Defendants.          )

                 COUNTER-DEFENDANTS’ RESPONSE IN OPPOSITION TO
                  SUNJUT’S MOTION FOR PRELIMINARY INJUNCTION

         Counter-Defendants Steven E. Dry, Preston Dry, Sunpack Pacific LLC, Dry Enterprises,
Inc., and Hakan Hazneci (collectively “Dry”) hereby file their opposition (the “Response”) to
Sunjut’s Motion For Preliminary Injunction (the “Motion”), and respectfully state as follows:
I.       Sunjut’s Motion Fails Because It Impermissibly Seeks a Mandatory Preliminary
         Injunction Upon an Unclear Record of Disputed Facts
         In its Motion, Sunjut inappropriately seeks not simply an injunction, but rather a
mandatory preliminary injunction from this Court.1 While mandatory injunctions “are rarely

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 “[A] mandatory injunction is similar to a mandamus in all essential respects.” Gary Jt. Venture
v. Friendly Ice Cream Corp., 1987 U.S. Dist. LEXIS 5351, at *12 (N.D. Ill. June 15, 1987)
(Leighton, J.). It “orders the defendant to perform some positive act [and] should issue only in
exceptional circumstances and where the rights of the parties are entirely clear. . . . [A]
mandatory injunction is an extraordinary remedial process resorted to usually for the purpose of
effectuating full and complete justice[.]” Standberry v. Color, 1987 U.S. Dist. LEXIS 3965, at
*33 (N.D. Ill. May 14, 1987) (Leighton, J.) (citing Jordan v. Wolke, 593 F.2d 772, 774 (7th Cir.
1979) and denying mandatory preliminary injunction).


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issued,” the Seventh Circuit has expressly cautioned that “interlocutory mandatory injunctions
are even more rarely issued, and neither except upon the clearest equitable grounds.” W.A.
Mack, Inc. v. GMC, 260 F.2d 886, 890 (7th Cir. 1958) (emphasis added); see, e.g., Graham v.
Medical Mut. of Ohio, 130 F.3d 293, 295 (7th Cir. 1997) (denying mandatory preliminary
injunction and observing that such injunctions are “cautiously viewed and sparingly issued”).
“Mandatory preliminary relief, which goes well beyond simply maintaining the status quo
Pendente lite, is particularly disfavored, and should not be issued unless the facts and law clearly
favor the moving party.” Anderson v. United States, 612 F.2d 1112, 1114 (9th Cir. 1979).
           Such relief “must be denied where the application and affidavits reveal that a plaintiff’s
contentions as to issues of fact and law are seriously disputed.” Borden v. Kraft, 1984 U.S. Dist.
LEXIS 23179, at *50-*51 (N.D. Ill. Sept. 28, 1984) (Leighton, J.) (denying mandatory
preliminary injunction where plaintiff’s factual contention and legal arguments “are all, at the
very least, in dispute, if not fully refuted by defendant”); see, e.g., Redevelopment Ag. of
Stockton v. Burlington N. & Santa Fe Ry. Corp., 2006 U.S. Dist. LEXIS 18319, at *14 (E.D.
Cal. Apr. 11, 2006) (“Ultimately, the question whether defendants were responsible parties
hinges on questions of fact that cannot be resolved on this spare record. For these reasons, while
the Agency has raised serious questions, it has not demonstrated a likelihood of success on the
merits sufficient to warrant a mandatory injunction.”); Carter v. Fagin, 363 F. Supp. 2d 661, 666
(S.D. N.Y. 2005) (“Because the facts . . . are hotly contested, I cannot say that plaintiff has
shown the ‘clear right to relief’ required for the issuance of a mandatory injunction[.]”).
         Sunjut’s Motion should be denied because it: (a) seeks the mandatory injunctive relief of
requiring Dry to affirmatively (i) halt sales to its customers, (ii) remit monies to Sunjut, and (iii)
“require Counter-Defendants to take all steps necessary to reverse the effect of their actions,
including notifying the customers and returning diverted payments,” Motion, p. 6—effectively
providing Sunjut with full and final relief at a preliminary stage of these proceedings,2 (b) where
the record in this case contains dueling affidavits, and (c) where Dry disputes and has fully
refuted Sunjut’s key factual and legal contentions, as later discussed herein and pursuant to the

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  Sunjut also seeks to prevent Dry’s “continued use of the ‘Sunpack Pacific’ name and the
sunpackpacific.com domain name and website[.]” Mot., pp. 5-6. However, at page 31,
subsection (i), of the Counterclaims Of Sunjut As, Sunjut USA And Metin Levi (the
“Counterclaims”), Sunjut more specifically requests that the Court “[o]rder Counter Defendants
to immediately transfer the domain name ‘sunpackpacific.com’ to Counter Plaintiffs[.]”
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exhibits to this Response. Based upon the foregoing authority, Dry respectfully requests that the
Court deny Sunjut’s Motion.
II.      Sunjut’s Motion Otherwise Fails the Burden for Preliminary Injunctive Relief
         A.      Applicable Legal Standard
         “[A] preliminary injunction is an extraordinary and drastic remedy, one that should not be
granted unless the movant, by a clear showing, carries the burden of persuasion.” Mazurek v.
Armstrong, 520 U.S. 968, 972, 117 S. Ct. 1865, 1867, 138 L. Ed. 2d 162 (1997) (citations
omitted); see Roland Mach. Co. v. Dresser Indus. Inc., 749 F.2d 380, 389 (7th Cir. 1984).
         To obtain a preliminary injunction, a plaintiff must clearly establish: (1) that it will be
irreparably harmed in the absence of a preliminary injunction, (2) that the threatened injury to the
plaintiff outweighs the harm an injunction may inflict upon the defendant, (3) that the plaintiff
has at least a reasonable likelihood of success on the merits, and (4) that granting a preliminary
injunction will not disserve, or harm, the public interest. See Goodman v. Illinois Dep’t of Fin.
& Prof’l Reg., 430 F.3d 432, 437 (7th Cir. 2005); Schwinn Bicycle Co. v. Ross Bicycles, Inc.,
870 F.2d 1176, 1181 (7th Cir. 1989).
         The movant must “carry the burden of persuasion as to all four factors.” Signode Corp.
v. Weld-Loc Sys., Inc., 700 F.2d 1108, 1111 (7th Cir. 1983) (emphasis added); see Cox. v.
City of Chicago, 868 F.2d 217, 223 (7th Cir. 1989) (“If a plaintiff fails to meet just one of the
prerequisites for a preliminary injunction, the injunction must be denied.”); Global Relief
Found., Inc. v. O’Neill, 207 F. Supp. 2d 779, 809 (N.D. Ill.) (Andersen, J.), aff’d, 315 F.3d
748 (7th Cir. 2002), cert. denied sub nom. Global Relief Found., Inc. v. Snow, 540 U.S. 1003,
124 S. Ct. 531, 157 L. Ed. 2d 408 (2003); see, e.g., Adams v. City of Chicago, 135 F.3d 1150,
1154 (7th Cir. 1998) (“The district court [ ] found that the plaintiffs would not be irreparably
injured . . . . Because we agree with this conclusion, and because this alone precludes the
issuing of the preliminary injunction, we need not reach the question of the plaintiffs’ likelihood
of success on the merits.”) (emphasis added).
         B.      Sunjut’s Delay in Pursuing an Injunction Warrants Denial of the Motion
                 1.     Laches
         The burden is on Sunjut, “as the party seeking affirmative judicial relief from this court,
to show at the threshold that it has come to equity with clean hands.” Great W. Cities, Inc. v.


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Binstein, 476 F. Supp. 827, 833 (N.D. Ill. 1979) (Bua, J.). Dry respectfully submits that Sunjut
has not met this threshold burden.
         In this connection, but not alone in this connection, Sunjut has tarried by over eight (8)
years in seeking its requested relief. Dry Enterprises used the name “Sunpack” exclusively in its
business operations from 1999 until approximately January 2007. (Dry Decl., ¶19). Sunjut and
Sunjut USA were aware of Dry’s use of the “Sunpack” name. In fact, Hazneci, who worked for
Sunjut USA during that time, assisted Dry in creating a logo designed for Sunpack, and assisted
Dry in printing the first batch of letterhead with that logo. Thereafter, Dry printed all of its own
letterhead, envelopes, and business cards, all containing the Sunpack logo and all for the
exclusive use of Dry. Every transaction conducted by Dry was conducted under the Sunpack
name. (Dry Decl., ¶21). Dry had also requested, and Sunjut agreed, to place the Sunpack logo
on all Sunjut FIBCs ordered by Dry’s customers. Furthermore, Sunjut USA billed only Dry’s
customers under the Sunpack name and even referred internally to Dry as Sunpack.
         Additionally, during the time period that Dry used the Sunpack name, Dry purchased
non-Sunjut FIBCs from several companies, including: (1) Grupo Polinal located in Mexico; (2)
Hartley located in Atlanta, Gorgia; (3) Terra Bulk Bags located in Ft Lauderdale, Florida; and
(4) Farber Bag located in Peosta, Iowa. Dry sold other manufacturer’s FIBCs to Dry’s customers
and invoiced those customers using the “Sunpack” name. (Dry Decl., ¶22). It was not until
Steve Dry suggested changing Sunjut Pacific’s name to Sunpack Pacific in August 2006 that
Levi first objected to the use of name “Sunpack”
         Sunjut’s delay, in concert with which Dry continued its business and sales, as described,
subjects the Motion to laches. “The application of laches in a particular case is dependent upon a
showing of an unreasonable lack of diligence by the party against whom the defense is asserted
and prejudice arising from this lack of diligence.” Hot Wax, Inc. v. Turtle Wax, Inc., 191 F.3d
813, 822 (7th Cir. 1999). Sunjut’s delay in this case thoroughly undermines the credibility of
any claim of urgency to its requested relief. Case law is replete with analogous situations of such
undue delay, in which “irreparable harm” was not found and injunctive relief was denied on the
basis of laches. See, e.g., Ocean Atl. Woodland Corp. v. DRH Cambridge Homes, Inc., 2002
U.S. Dist. LEXIS 26774, at *31 (N.D. Ill. Sept. 27, 2002) (Bobrick, J.) (“In this case, it is
especially important to recall that delay in pursuing a preliminary injunction may raise questions
regarding a claim of inadequate legal remedy or irreparable harm. . . . As already discussed, the

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copyright owners did nothing for nine months . . . . Certainly, if the injury alleged in this
litigation were truly irreparable and legal remedies were inadequate, [defendant]’s substantial
undertaking would have been thwarted by litigation almost immediately. Such was simply not
the case.”) (emphasis added); Borden, 1984 U.S. Dist. LEXIS 23179, at *45 (“Borden was
aware of Kraft’s television commercials at least as early as January 1984, well over five months
ago. The parties negotiated from time to time during this period. . . . Although Borden could
have filed this action in January, it . . . sat on its alleged rights for several months . . . . Plaintiff’s
right to preliminary injunctive relief is therefore barred by laches.”). Based upon the facts as
described, Dry respectfully requests that the Court deny the Motion upon the basis of laches.
                 2.     Lack of Irreparable Harm
         Even assuming arguendo that Sunjut’s delay were not subject to laches, and Dry
respectfully submits that it is, Sunjut’s delay is still more than sufficient to repudiate any claim
of irreparable harm and, thus, any eligibility it might claim to preliminary injunctive relief. In
this sense, “[d]elay . . . is still a factor to be considered,” in the following respects:

         To the extent the urgency created by the delay prevents the evidence from being
         adequately developed, the weakness in the evidence or failure to make an
         adequate showing of a likelihood of success or irreparable harm will be held
         against the movant. Additionally, the delay may be considered in balancing the
         hardships. Also, delay in pursuing relief undercuts claims of irreparable harm and
         may be considered as circumstantial evidence that the potential harm to plaintiff
         is not irreparable or as great as claimed.

Fenje v. Feld, 2002 U.S. Dist. LEXIS 9492, at *5-*6 (N.D. Ill. May 29, 2002) (Hart, J.) (citations
omitted and emphasis added). The principle is that a plaintiff’s extended delay in seeking relief
undercuts the sense of urgency that ordinarily accompanies a motion for preliminary relief and
indicates that there is, in fact, no irreparable injury.
         Accordingly, delay may still prove fatal to the tardy movant, and should to Sunjut. As
described by Dry, Sunjut has waited years to redress its alleged harms. Additionally, Sunpack
has itself acknowledged sufficient delay to warrant denial of its Motion. In its Motion, it states:
         (1)     that it moves “for a preliminary injunction against Counter-Defendants’ . . . (c)
                 continued sales by Counter-Defendants to customers whose sales they diverted in
                 2006 from Sunpack/Sunjut USA to Pacific LLC,” Mot., p. 1;



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         (2)     “Since at least January 5, 2007, Counter-Defendants have used the name
                 ‘Sunpack Pacific LLC’ as their corporate name without permission and over the
                 objections by Sunjut . . . .,” id., p. 4 at ¶ 8(a);
         (3)     “Counter-Defendants submitted an application for the trademark on Sunpack
                 Pacific on September 15, 2006 without permission and over the objections by
                 Sunjut,” id. at ¶ 8(b); and
         (4)     “Counter-Defendants submitted an application for the sunpackpacific.com domain
                 name and website on October 30, 2006 without permission and have used it as a
                 website over objections of Sunjut[,]” id. at ¶ 8(c).
By comparison, Sunjut’s Motion was brought in June 2007.
         A delay like Sunjut’s—either as described by Dry or Sunjut—is sufficient, in and of
itself, to obviate any claimed need for preliminary injunctive relief. See, e.g., Shaffer v. Globe
Protection, Inc., 721 F.2d 1121, 1123 (7th Cir. 1983) (“The court did not abuse its discretion in
failing to grant Ms. Shaffer injunctive relief. . . . [P]laintiff has made no serious attempt to press
her claim for injunctive relief, waiting two months after the December 9 denial of class action to
make the request in question here. Such a delay is inconsistent with a claim of irreparable
injury.”) (emphasis added); MB Fin. Bank, N.A. v. MB Real Estate Servs., L.L.C., 2003 U.S.
Dist. LEXIS 21051, at *23-*24 (N.D. Ill. Nov. 21, 2003) (Der-Yeghiayan, J.) (“Bank admits that
it learned of Real Estate’s name change to its current form in January of 2002. However, Bank
did not contact Real Estate regarding the ‘MB’ mark until March of 2002. No cease and desist
letters had been sent in the interim. Bank did not file the suit until August 20, 2002, and Bank
did not file the motion for preliminary injunction until October 8, 2002. These delays are
inconsistent with Bank’s assertions that it faces irreparable harm. While the delays should not
impede Bank’s ability to pursue its claim, they do support a finding that Bank is not entitled to
the extraordinary relief of a preliminary injunction.”) (emphasis added); Boczar v. Kingen,
1999 U.S. Dist. LEXIS 22079, at *37 (S.D. Ind. July 2, 1999) (“[T]he stop-work order was
issued and the permits were revoked in November 1998. The Plaintiffs, however, waited until
February 1999 to commence this action and waited until May 1999 before seeking a preliminary
injunction. The Plaintiffs’ own inaction or delayed action in seeking a preliminary injunction
repudiates their claims of irreparable injury.”) (emphasis added); Ohio Art Co. v. Lewis Galoob
Toys, Inc., 799 F. Supp. 870, 887 (N.D. Ill. 1992) (Shadur, J.) (“It can be inferred from

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plaintiff’s delay that there is no threat of irreparable harm.”); Stokely-Van Camp, Inc. v. Coca-
Cola Co., 1987 U.S. Dist. LEXIS 781, at *7-*8 (N.D. Ill. Jan. 30, 1987) (Leinenweber, J.) (“[I]n
May Stokely know that Coke was about to introduce a product by the same name. . . . Stokely
chose to wait three months before filing suit while Coke was spending substantial amounts to
market its product. Although this is too short of a time for the equitable doctrine of laches to
apply, the fact that Stokely waited three months indicates a lack of a need for the extraordinary
remedy of a preliminary injunction. . . . In such a situation the preliminary injunction should be
denied and no further analysis is needed.”) (emphasis added).
         Under the authority cited, Dry respectfully requests that the Court deny Sunjut’s Motion.
         C.      Because Sunjut’s Alleged Injuries Are Not “Irreparable” Sunjut Is Ineligible
                 for the “Extraordinary and Drastic Remedy” of a Preliminary Injunction
         “To obtain a preliminary injunction, plaintiff must show that it has no adequate remedy at
law and, as a result, that it will suffer irreparable harm if the injunction is not issued. . . . The
finding of irreparable harm to the plaintiff if the injunction is denied is a threshold requirement
for granting a preliminary injunction.” FoodComm Int’l v. Barry, 328 F.3d 300, 304 (7th Cir.
2003). “If the moving party cannot make this showing, a court’s inquiry is over and the
injunction must be denied.” East St. Louis Laborers’ Local 100 v. Bellon Wrecking & Salvage
Co., 414 F.3d 700, 703 (7th Cir. 2005); see Borden, 1984 U.S. Dist. LEXIS 23179, at *45 (“[A]
failure to demonstrate irreparable harm is of itself fatal to an application for an injunction.”).
         In this connection, “[a]n injury compensable in money is not ‘irreparable’, so an
injunction is unavailable.” Classic Components Supply, Inc. v. Mitsubishi Elec. Am., Inc., 841
F.2d 163, 164-65 (7th Cir. 1988); see Signode Corp., 700 F.2d at 1111 (same); see, e.g., Praefke
Auto Elec. & Battery Co. v. Tecumseh Prods. Co., 255 F.3d 460, 463 (7th Cir. 2001) (“[The
movant’s] losses are purely financial, easily measured, and readily compensated. There is no
showing of irreparable harm, and on this ground alone the preliminary injunction should have
been denied.”); Ameritech v. Voices for Choices, Inc., 2003 U.S. Dist. LEXIS 8023, at *6-*7
(N.D. Ill. May 12, 2003) (Kocoras, J.) (same). Moreover, the burden of proof lies with the
plaintiff “to demonstrate that its claimed injury cannot be compensated for in money damages.”
Borden, 1984 U.S. Dist. LEXIS 23179, at *48.
         The rule applies with even greater force where plaintiffs “place a monetary value on their
alleged injuries,” and thereby, themselves provide “evidence” that they have an adequate remedy

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at law.3 Lancaster Found., Inc. v. Skolnick, 1992 U.S. Dist. LEXIS 12612, at *13-*14 (N.D. Ill.
Aug. 21, 1992) (Kocoras, J.); see R.D. Smith & Co. v. Preway, Inc., 644 F. Supp. 868, 872
(W.D. Wis. 1986) (“Where damages can be measured, equitable relief is not required.”).
         In some respects, however, Sunjut has already provided its own figures. For instance, at
Paragraph 111 of its Counterclaims, Sunjut alleges that: “The removal of Sunjut permits Pacific
LLC to retain and benefit from the technology and know-how in the business of manufacturing
and selling FIBC’s [sic] which is [sic] valued at $150,000 in the Operating Agreement.” Having
an adequate remedy at law, Sunjut is not entitled to seek one in equity. Accordingly, and upon
the foregoing bases, Dry respectfully requests that the Court deny Sunjut’s Motion.
         D.         Sunjut Fails to Demonstrate It Has A Reasonable Likelihood of Succedd
                    on the Merits of Its Tortious Interference and Fiduciary Duty Claims

         Sunjut’s motion for preliminary injunction fails for the additional reason that Sunjut does
not demonstrate that it has even a reasonable likelihood of succeeding on its tortious interference
or fiduciary duty claims.
         Sunjut’s tortious interference claim is premised upon the allegation that Dry prevented it
from receiving payments from customers. In its brief, Sunjut does not even reference the
requirements for proving a claim for tortious interference with contract. Had it done so, it would
have become clear that Sunjut cannot prevail on such a claim under any of the facts alleged. In
order to state a claim for tortious interference with contract, Sunjut must plead and prove (1) the
existence of a contract; (2) the defendant’s awareness of the contract; (3) the intentional
inducement of a contract breach; (4) an actual breach of the contract; and (5) damages. Cody v.
Harris, 409 f.3d 853, 859 (7th Cir. 2005).
         Here, Sunjut does not even suggest that it can prove any of these elements of its claim.
Indeed, Sunjut cannot prove that Dry intentionally induced a contract breach or that Dry’s

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  The relief Sunjut seeks in its Motion—concerning, among other things, “payments by
customers for Sunpack/Sunjut USA,” and “continued sales by Counter-Defendants to
customers,” coupled with “returning diverted payments”—is monetarily compensable. Were it
necessary, a monetary amount could readily be calculated for the same. See, e.g., Motorola, Inc.
v. D&B Holding Co., 2002 U.S. Dist. LEXIS 13240, at *66 (N.D. Ill. July 22, 2002) (Mason, J.)
(holding that the plaintiff did not prove the inadequacy of money damages because “the question
of damages is simply a matter of assigning a license value to [plaintiff's lost] sales”); Fisher Inv.,
Inc. v. Carlson, 2004 U.S. Dist. LEXIS 22060, at *9 (N.D. Ill. Nov. 2, 2004) (Bucklo, J.)
(“[M]onetary damages will be adequate to compensate [defendant] for the loss of any clients that
may result, even if [defendant] is not able to precisely calculate its losses”).
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customers actually breached the terms of any agreement they had with Sunjut. As set forth in
Dry’s Declaration, Sunjut itself caused the payments to be sent to Sunpack Pacific after Sunjut
unilaterally changed the terms of its billing procedures. (Dry Decl. ¶ 75-80, 88). Dry’s
customers did not know where to remit payment since Sunjut was not a recognized vendor.
Moreover, Sunjut cannot prove it suffered any damages. Although Dry received some checks
since March 2007 from its customers where a portion of the monies are payable to Sunjut, Dry
promptly issued checks to Sunjut USA for any and all amounts owed to Sunjut USA. (Dry Decl.
¶ 91). Currently, Dry possesses no monies in that are due and owing to Sunjut and Dry does not
expect to receive any further monies owed to Sunjut. (Dry Decl. ¶ 92). For these reasons alone,
Sunjut’s request for a preliminary injunction must fail.
         Additionally, through its Fiduciary Duty claim, Sunjut is attempting to prevent Dry from
conducting business with those customers that Dry has been servicing and selling to as a
distributor for years. Sunjut does not allege that Dry has violated any non-competition or non-
solicitation agreement. Rather, Sunjut is attempting to prevent competition in the FIBC
marketplace by alleging that Dry owed fiduciary duties to not solicit or compete with Sunjut.
There is absolutely no legal basis for preventing Dry from selling any manufactures FIBCs to
any customers. Indeed, that is the purpose for which Sunpack Pacific was established.
         Sunjut’s entire argument is based upon the mistaken belief that Dry was a sales
representative of Sunjut. As set forth fully in Dry’s declaration, Dry never acted as a sales
representative for Sunjut. At all times, Dry was a distributor for Sunjut as well as other
manufacturers of FIBCs. As a result, Sunjut’s entire claim must necessarily fail.
III.     Additional Bases Support the Conclusion that Sunjut Has Failed to Meet Its Burden
         in Seeking a Preliminary Injunction as to the SUNPACK Name
         Sunjut has failed to demonstrate any entitlement to a preliminary injunction preventing
Dry from using the SUNPACK trademark. Accordingly, and upon all of the bases previously
discussed herein, Sunjut’s request for a preliminary injunction as to the SUNPACK trademark
must be denied.
         A.      Sunjut’s Request for an Injunction Concerning the Trademark Should Be
                 Denied Because Sunjut Effectively Ignored, and Failed to Establish, Three of
                 the Four Requisite Factors to Preliminary Injunctive Relief
         Sunjut failed to meet its burden because it presented absolutely no evidence or argument
demonstrating that: (1) Sunjut will be irreparably harmed if Dry continues to use the SUNPACK

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trademark; (2) the alleged harm Dry has caused Sunjut by its alleged trademark infringement
outweighs the harm an injunction may inflict upon Dry; or (3) granting a preliminary injunction
will not disserve, or harm, the public interest. Because Sunjut failed to establish these factors,
the Court should deny Sunjut’s request for a preliminary injunction concerning the SUNPACK
trademark. As to the sole factor that Sunjut did address, Sunjut fails again to meet its burden.
         B.      Sunjut Has Failed to Demonstrate That It Has a Reasonable Likelihood of
                 Success on the Merits
         In order to meet its burden of proving a likelihood of success on the merits, a movant
must demonstrate: (1) that it owns a valid trademark, and (2) infringement of the mark.
Platinum Home Mortgage Corp. v. Platinum Fin. Group, Inc., 149 F.3d 722, 726 (7th Cir. 1998).
Sunjut fails to meet this burden because: (1) it does not own the SUNPACK trademark, Dry
does, and (2) Dry’s ownership of the trademark obviates Sunjut’s claim of infringement. Dry
has compelling evidence that it owns superior, if not exclusive, rights to the trademark—that is,
Dry’s first use of the SUNPACK word, and Dry’s goodwill associated with SUNPACK.
         Dry Enterprises began using the SUNPACK mark in connection with the sale of Flexible
Intermediate Bulk Containers (“FIBCs”) in 1999, and has since been using the trademark
exclusively for over eight years. (Dry Dec. ¶ ). In 1999, Dry entered an arrangement with
Sunjut under which: (1) Dry distributed FIBCs manufactured by Sunjut, and (2) Sunjut
produced FIBCs for Dry’s customers under an exclusive private label. (Dry Dec. ¶ ). Although
Sunjut USA’s corporate name has been Sun-Pack Corporation since 1997, it has not historically
used the SUN-PACK corporate name or had any significant direct dealings with customers or
trade organizations using that name. (Dry Dec. ¶ ). Indeed, Sunjut’s Counterclaim avers that
Sun-Pack Corporation does business as Sunjut USA.
                 1.     Dry Enterprises Owns the SUNPACK Trademark
         Dry has produced evidence that it first used the mark in the sale of FIBCs in 1999. It is
axiomatic in trademark law that the standard test of ownership is priority of use. Sengoku Works
Ltd. v. RMC Int’l, Ltd., 96 F.3d 1217,1219 (9th Cir. 1996). To acquire ownership of a
trademark, it is not enough to have invented the mark first or even to have registered it first; the
party claiming ownership must have been the first to actually use the mark in the sale of goods or
services. Id. (citng J. Thomas McCarthy, 2 McCarthy on Trademarks and Unfair Competition §
16.03 (3d ed. 1996)) (herenafter “McCarthy”).

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         Sunjut’s evidence of use prior to 1999 is limited to: (1) its manufacturing of FIBCs sold
to, and distributed by, Dry to its customers, and (2) its Turkish registration of the word
“SUNPAK” in 1996. The Supreme Court, however, has long held that a party need not itself
manufacture the goods in order to acquire valid trademark rights in the marks affixed to the
goods. See Menendez v. Holt, 128 U.S. 514, 521 (1888). An exclusive distributor may acquire
trademark rights superior to those of the manufacturer if it was the first user of the mark in
commerce. Omega Nutrition U.S.A., Inc. v. Spectrum Mktg., Inc., 756 F. Supp. 435, 438 (N.D.
Cal. 1991). In fact, the distributor’s use of a trademark automatically inures to the manufacturer
of the product only when the manufacturer is the original owner of the mark. Id. Here, Dry is the
original owner of the mark. Dry was the first party to use the mark in commerce in the sale of
FIBCs. In addition, Dry built the goodwill in the mark and is solely associated with the mark
through its extensive advertising and participation in countless trade shows and conferences.
         On the other hand, Sunjut offers no evidence showing that its association with—or
“use”—of the SUNPACK trademark for the past eight years was for Sunjut’s own benefit, as it
claims. All of the relevant factors compel the conclusion that Dry is the exclusive owner of the
SUNPACK trademark.
                        a.     Dry First Used the SUNPACK Mark in Commerce
         Sunjut’s use of the word “Sun-Pack” was limited to the name filed with the Illinois
Secretary of State for the entity that Sunjut admits does business as Sunjut USA. Even in a light
most favorable to Sunjut, its use of the word “Sun-Pack” was at most a trade name. Dry was the
first to use the SUNPACK mark in commerce as a trademark. These terms are legally distinct:
         Trade names symbolize the reputation of a business as a whole. In contrast,
         trademarks and service marks are designed to identify and distinguish a
         company’s goods and services…The major legal distinction between trademarks
         and trade names is that trade names cannot be registered and . . . protected[.]

Accuride Int’l, Inc. v. Accuride Corp., 871 F.2d 1531, 1534 (9th Cir. 1989). Sunjut has offered
no proof that it sold FIBCs under the SUNPACK mark prior to Dry Enterprises’ first use of the
mark in the sale of goods in 1997.
         Assuming that Sunjut’s Turkish registration of “SUNPAK” is valid, this does not
establish first use of the SUNPACK trademark in the United States (or elsewhere). Under the
Lanham Act, the term “use in commerce” means:


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         the bona fide use of a mark in the ordinary course of trade, and not made merely
         to reserve a right in a mark. For purposes of this chapter, a mark shall be deemed
         to be in use in commerce- (1) on goods when- (A) it is placed in any manner on
         the goods or 24 their containers or the displays associated therewith or on the tags
         or labels affixed thereto, or if the nature of the goods makes such placement
         impracticable, then on documents associated with the goods or their sale, and (B)
         the goods are sold or transported in commerce….

15 U.S.C. § 1127.
         Dry used the SUNPACK mark in commerce by first labeling the FIBCs produced by
Sunjut. In addition, Dry: (1) sent purchase orders to its customers that bore its address and the
name SUNPACK; (2) distributed promotional materials with SUNPACK affixed thereto to its
customers and potential customers; (3) used SUNPACK letterhead with Dry’s address in
correspondence with customers and potential customers. Further, as a special accommodation
for Dry, Sunjut’s invoices bore the name SUNPACK. (Cinar Dec. ¶21). In contrast, Sunjut
never labeled any FIBCs sold to other distributors or customers with the SUNPACK word or
design mark.4 (Cinar Dec. ¶21).
         However, even if the Court found that the Turkish trademark registration was entitled to
some weight, the law is clear that “while registrations may be prima facie evidence of
ownership, the mere fact that a party registers its copyrights or trademarks does not create
substantive ownership rights in the registrant. Rather, . . . trademark rights attach based upon use
of the mark in commerce and registration provides no additional substantive rights against
infringement . . . . [R]egistrations merely offer evidence of ownership, and that showing need
not be dispositive of the matter if contrary proof is available.” Blue Planet Software, Inc. v.
Games Int’l, LLC, 334 F. Supp. 2d 425, 436-37 (S.D. N.Y. 2004) (citations omitted).
         The purported Turkish registration is also meaningless because Sunjut never used the
SUNPAK mark in the United States. See Tactica Int’l v. Atl. Horizon Int’l, 154 F. Supp. 2d 586,


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  Moreover, the evidence offered by Sunjut, purporting to establish that it holds a Turkish
trademark registration of “SUNPAK,” should be accorded no weight. First, the evidence
submitted appears to simply come from a private database; it does not appear to derive from a
governmental source, is not a certificate of registration, has not been certified by any
governmental agency, and has not been translated into English for review by this Court and these
parties. Second, at the time Dry began to use the SUNPACK trademark, Sunjut had not
registered “SUNPAK” with the U.S. Patent and Trademark Office (USPTO). Consequently,
Sunjut has the burden of establishing that it is entitled to trademark protection under the Lanham
Act. Platinum Home Mortgage Corp, 149 F.3d at 727.
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599 (S.D.N.Y. 2001) (“It is well settled that foreign use of a trademark cannot form the basis for
establishing priority in the United States.”). In order to constitute use in American commerce
sufficient to support a federal registration, the mark must be affixed to the goods. See McCarthy,
at §16:28. Dry was the first party to sell FIBCs with the SUNPACK word and design marks.
                       b.      Other Factors Dictate that Dry Owns the SUNPACK Mark
         Where a trademark indicates a distributor, rather than maker, of merchandise, the
distributor acquires trademark rights, for the public associates the goods with it, not knowing the
identity of the maker. Tactica Int’l, 154 F. Supp. 2d at 601. Absent a contractual provision for
ownership of a trademark in a manufacturer-dealer dispute, a court will weigh factors such as:
         (1) which party invented and first affixed the mark onto the product; (2) which
         party’s name appeared with the trademark; (3) which party maintained the quality
         and uniformity of the product; and (4) with which party the public identified the
         product and to whom purchasers made complaints.

Sengoku Works Ltd., 96 F.3d at 1220. In addition, courts will consider which party possesses
the goodwill associated with the product, or which party the public believes stands behind the
product. Id.; see also McCarthy, at §16:48; Omega Nutrition, 756 F. Supp. at 438-39. The
answer to each of these questions is Dry.
           In Omega Nutrition U.S.A., Inc. v. Spectrum Marketing, Inc., 756 F. Supp.435 (N.D.
Cal. 1991), a dispute between a manufacturer and a distributor over ownership of a trademark
arose and the distributor prevailed. the plaintiff manufactured flaxseed oil that was distributed by
defendant. The court granted the defendant an injunction, finding a probability of success on the
merits. Specifically, the court held that the distributor rightfully owned the trademark over
plaintiff because: (1) defendant created the mark; (2) plaintiff had used the mark solely in
connection with defendant until their relationship ended; (3) defendant bore the responsibility of
maintaining product quality; and (4) nothing in the labels, which were created by defendant,
indicated that plaintiff was the licensor of the trademark itself. Id. at 439. Similarly, nothing in
the advertising or product labeling that Sunjut has done in the last eight years indicated that the
SUNPACK mark was owned by Sunjut. The mark was never used by Sunjut and was used by
Dry in purchase orders, advertising, and trade shows in connection with the Dry Enterprises
company name only. Sunjut did not have a prior right in the SUNPACK mark and, because it
has never used the mark in commerce, acquired no goodwill. Sunjut’s current website does not
even refer to the SUNPACK mark and Sunjut’s President, Metin Levi, has stated that Sunjut has
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no intention of ever using the mark, even on invoices. Consequently, Dry—not Sunjut—has been
viewed as the source for SUNPACK FIBCs for eight years.
         Similar cases involving maker-distributor ownership disputes Dry’s ownership of the
SUNPACK word and design trademarks. Dry Dry possesses the goodwill associated with
SUNPACK FIBCs due to its dedicated efforts and creativity of Preston Dry and Steven Dry.
                 2.    Sunjut Has No Protectable Rights in the SUNPACK Mark
         Sunjut does not have any protectable rights in the SUNPACK mark. First, the mark was
not used when first adopted by Sunjut, and only acquired trademark significance through Dry’s
marketing, advertising and sales activities over the past eight years. That makes Dry the senior
user and owner of the mark. See McCarthy, §§ 15:04 and 16:34. 18. Second, Sunjut has lost any
rights that it may have once had through uncontrolled licensing of the mark. Dry has acquired
significant goodwill in the mark without any restrictions or controls being placed on it by Sunjut
at any time regarding the scope or form of Dry’s trademark usage. Sunjut did not attempt to
place controls on Dry’s usage of the mark because Sunjut knew the mark was not its to control.
                       a.      Only Dry’s Efforts Gave the Mark Distinctiveness
         The Turkish registration does not confer a presumption of ownership as to the word
SUNPACK, since that term was disclaimed. That term was disclaimed because Sunjut decided
to stick with its Sunjut name when it first began to sell its FIBCs in the United States
marketplace. Over the years, the SUNPACK trademark has acquired distinctiveness through
Dry’s use of the mark in the sale of FIBCs. Dry has invested thousands of its own dollars to
build the goodwill surrounding the SUNPACK mark, and the mark now has acquired
considerable distinctiveness in reference to Dry and the FIBCs it sells.
                       b.      Sunjut Long Ago Abandoned Any Rights It May Have Had in
                               the Mark Through Uncontrolled or “Naked” Licensing
         If Sunjut ever had any trademark rights in SUNPACK, it lost those rights long ago
through uncontrolled licensing. Sunjut allowed Dry to build significant goodwill in the mark, to
the point that the purchasing public now associates the mark with Dry. It is well-established that
uncontrolled or “naked” licensing may result in the trademark ceasing to function as a symbol of
controlled source. See Barcamerica Int’l USA Trust v. Tyfield Importers, Inc., 289 F.3d 589,
596 (9th Cir. 2002); McCarthy § 18:48. When “a trademark owner engages in naked licensing,
without any control over the quality of goods produced by the licensee, such a practice is

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inherently deceptive and constitutes abandonment of any rights to the trademark by the licensor.”
First Interstate Bancorp v. Stenquist, 16 U.S.P.Q.2d (BNA) 1704, 1706 (N.D.Cal. 1990). Such
abandonment “is purely an ‘involuntary’ forfeiture of trademark rights,” for it need not be shown
that the trademark owner had any subjective intent to abandon the mark. McCarthy § 18:48.
         Sunjut has exercised no control over Dry’s use of the SUNPACK mark. In fact, Dry sells
FIBCs from other manufacturers under the SUNPACK name. (Dry Dec. ¶). Even though Sunjut
knew about Dry’s practice, it did nothing. (Dry Dec. ¶). Sunjut did not require Dry to give
attribution to Sunjut, nor did it require prior approval over public uses of the mark. The only
thing Sunjut did was to file a trademark application in the year 2007 (for the SUNPACK name)
in an attempt to create the appearance that it owned the mark. Thus, even assuming arguendo that
Sunjut once had trademark rights in SUNPACK (a supposition that is unsupported by the
record), it lost those rights through uncontrolled licensing of the mark.
DATED: June 15, 2007                              Respectfully submitted,

                                                  DRY ENTERPRISES, INC., SUNPACK
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                                                  DRY, AND HAKAN HAZNECI,

                                                  By/s/Frank A. Bear
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